                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE

 CORIZON, LLC,                              )
                                            )
          Plaintiff,                        )
                                            )
 v.                                         )   Case No. 3:20-cv-0892
                                            )
 PRISCILLA WAINWRIGHT, in her               )   Judge Richardson
 official capacity as Director of           )   Magistrate Judge Frensley
 Contracts Management for the State         )   Jury Demand
 of     Tennessee       Department     of   )
 Correction; TONY C. PARKER, in             )
 his official capacity as Commissioner      )
 for     the    State of Tennessee          )
 Department          of      Correction;    )
 MICHAEL F. PERRY, in his official          )
 capacity as Chief Procurement              )
 Officer for the State of Tennessee         )
 Central       Procurement       Office;    )
 MAGGIE WILSON, in her official             )
 capacity as Sourcing Account               )
 Specialist for the State of Tennessee      )
 Department of Correction; JOHN             )
 DOES 1-10, additional employees of         )
 the State of Tennessee operating in        )
 their         official       capacities;   )
 CENTURION OF TENNESSEE,                    )
 LLC; and WESLEY LANDERS, in                )
 his individual capacity,                   )
                                            )
             Defendants.

                 SECOND AMENDED COMPLAINT

         Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, Plaintiff

Corizon, LLC (“Corizon”) files this Second Amended Complaint.


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                                  INTRODUCTION

         This is a case of now indisputable public corruption. The open questions

relate to the full scope of that corruption, the identification of all those involved, and

the remedies for the same.

         In 2019 and 2020, then Tennessee Department of Corrections (“TDOC”)

Chief Financial Officer (and now Defendant) Wesley Landers (“Landers”) secretly

worked with Centurion to help Centurion of Tennessee, LLC (“Centurion”) win a

publicly bid TDOC behavioral health contract (the “Contract”) ultimately worth

more than $120,000,000.00. While the CFO of TDOC, Landers regularly sent

emails from his TDOC account to his private Gmail account and then on to

Centurion Vice President Jeffrey Wells (“Wells”) and others at Centurion that

contained TDOC internal correspondence, drafts, and other materials related to the

Contract solicitation and to the Contract. Access to these internal communications,

insights and materials gave Centurion a material advantage in the solicitation process

over all other competitors. In addition to these emails, there were likely hundreds

of additional written or oral communications between Wells and Landers, that no

longer exist or that have been conveniently forgotten.

         Landers was obviously looking for something in return, and he got it when a

Centurion affiliate hired him for a position in Georgia. Landers did not even have

to interview for his new job. Although Centurion and its affiliates have thousands


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of employees, Steven Wheeler (“Wheeler”), Centurion’s Chief Executive Officer,

personally approved the Landers hiring. At the exact same time Landers was being

hired, the performance bond required for the Contract increased from $1,000,000.00

to $118,000,000.00 and ultimately to more than $123,000,000.00. TDOC was

responsible for this term, and the change meant that only Centurion, a company with

a massive parent, could actually win the Contract at the end of the day. With what

we know now, the timing and fact of this competition-eliminating change cannot

reasonably be attributed to coincidence.

         The State of Tennessee, although now fully aware of the wrongdoing of

Landers and Centurion, has done nothing to date to address this egregious public

corruption. Instead, it has stood arm in arm with Centurion, tacitly endorsing fraud

and deceit in the solicitation of public contracts. Centurion still holds the Contract,

reaping profits from despicable conduct that has eliminated competition in the prison

health care services market.

         This case is brought against Defendants Priscilla Wainwright (“Wainwright”),

in her official capacity as Director of Contracts Management for TDOC; Tony C.

Parker (“Parker”), in his official capacity as TDOC Commissioner; Michael F. Perry

(“Perry”), in his official capacity as Chief Procurement Officer for the State of

Tennessee Central Procurement Office (“CPO”); and Maggie Wilson (“Wilson”), in

her official capacity as Sourcing Account Specialist for TDOC. To the extent there


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may be yet unidentified individual State employees also engaged in the conduct

identified herein or who must be enjoined to prevent the legal violation complained

of herein, Corizon also names additional John Doe Defendants, who are individual

State employees acting in their official capacities to violate Corizon’s rights under

federal law. All of these individuals, specifically named or referred to as “John Doe

Defendants,” are referred to collectively herein as the “State Employee Defendants.”

         Corizon also names Centurion as a Defendant. Centurion is vicariously liable

for the actions of Wells and others at Centurion who wrongfully obtained and shared

information regarding the Request for Proposals associated with the Contract (the

“RFP”) and the Contract itself, acting at all times within the scope of their

employment and for the benefit of Centurion. Finally, Centurion names Landers as

a Defendant. Upon information and belief, Landers acted for his own personal gain

and outside the scope of his employment with TDOC in assisting Centurion in

connection with the Contract.

         As to the State Employee Defendants, this Second Amended Complaint seeks

only prospective, permanent injunctive relief, to prevent ongoing and future

threatened violations of the Sherman Antitrust Act (the “Sherman Act”). The

Sherman Act claims in this action against the State Employee Defendants are

brought pursuant to the doctrine of Ex Parte Young. (209 U.S. 123 (1908)). The

claims against Centurion and Landers seek the full modicum of damages permitted


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under the Sherman Act (including lost profits and other consequential damages,

treble damages and attorneys’ fees) and under State law, along with declaratory and

injunctive relief.

         In support of its claims, Corizon states:

                         INTRODUCTION AND OVERVIEW

         1.      Corizon’s Sherman Act claims arise, in primary part, out of the

Contract, an agreement relating to the Tennessee inmate health care services market

(the “Market”).

         2.      The Contract is between Defendant Centurion and TDOC, and it states

the terms under which Centurion will provide behavioral health services to inmates

in Tennessee state prisons overseen by TDOC.

         3.      The Contract was signed by Wheeler, Centurion’s CEO, and Parker,

TDOC’s Commissioner, on August 20, 2020, following a solicitation and proposal

evaluation process through which TDOC awarded the Contract to Centurion.

         4.      The Contract went into effect on November 1, 2020, when Centurion

replaced Corizon as the provider of behavioral health services to TDOC. The

Contract solicitation process, the Contract terms, and the decision to award the

Contract to Corizon’s competitor, Centurion, were all overseen and approved by

State Employee Defendants from both TDOC and CPO. TDOC was ultimately




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responsible for all material Contract terms, including setting the amount of the

required performance bond (the “Performance Bond”).

         5.      During the solicitation and Contract approval process, the State

Employee Defendants abandoned past reasonable TDOC and CPO policy and

procedure that fostered competition in the Market – to the benefit of Centurion.

         6.      The State Employee Defendants replaced established policy and

procedure with Performance Bond and Contract requirements and terms that

eliminated competition in the Market to the benefit of Centurion and to the detriment

of all other competitors. The result of Defendants’ actions are a Market in which

Centurion will hold an illegal monopoly, in violation of the Sherman Act.

         7.      The first Market competition-killing move was made long after the RFP

had been initially issued and in the middle of the solicitation when the State

Employee         Defendants   suddenly   increased   the   Performance   Bond    from

$1,000,000.00—the amount identified when the RFP was issued and the amount

historically required—to approximately $118,000,000.00 (the “Performance Bond

Change” or simply the “Change”). At the time, $118,000,000.00 was the expected

value of the Contract – that is, the amount TDOC would pay the winning respondent

over the entire course of the Contract to perform the services.

         8.      Nothing like the Performance Bond Change had ever happened before

in the Market. There is no reasonable explanation for it, and, upon information and


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belief, most respondents were flummoxed by it. Corizon assumed at first it was a

mistake.

         9.      Historically, TDOC and CPO have required only a modest, reasonable

performance bond for services contracts in the Market. The State Employees

Defendants’ decision to astronomically increase the Performance Bond required for

the Contract makes no sense from a need or cost perspective.

         10.     During the solicitation process and contemporaneous with the

Performance Bond Change, Defendant Landers, the former CFO for TDOC, was

secretly sending emails from his personal Gmail account about the inner workings

of the solicitation to Wells, a Centurion Vice President, and others at Centurion.

Upon information and belief, over the course of years, Landers secretly provided

private information about TDOC contracts and solicitations to Wells and others at

Centurion, giving Centurion a material advantage in all such procurement

proceedings. Landers was ultimately rewarded by Centurion with a cushy job at an

increased rate of pay for which he never even had to interview.

         11.     Landers and Wells also communicated by the encrypted chat service

“WhatsApp.”         “WhatsApp” serves no legitimate purpose as a communication

vehicle for a public employee with respect to public business, but does serve to

insulate such communications from public records requests. Apparently, neither

Landers nor Wells had a need for “WhatsApp” after Landers joined Centurion.


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Landers had “WhatsApp” on his TDOC-issued cell phone, which he turned in

following his departure from the agency, presumably knowing that it would be

wiped, and did not use the app going forward. After the inception of this litigation,

Wells deleted “WhatsApp” from his phone and also deleted text message

communications with Landers. Using separately acquired software, Landers set his

Gmail messages, including his sent messages, to auto-delete after a short period of

time.

         12.     Limited communications, available to date only through Centurion’s e-

mail system, have survived. They show, amongst other things, that on January 3,

2020, Landers sent Wells a copy of a revised draft of the RFP, which was not made

publicly available until late February of 2020, giving Centurion almost two months

of advance notice of the Performance Bond Change.              Immediately after    the

Performance Bond Change was announced on February 26, 2020, Wes Landers

formally accepted his sweetheart job offer from Centurion.

         13.     Landers and Wells had been communicating about Landers joining

Centurion essentially throughout the solicitation process on the Contract, and

Landers and Centurion agreed to employment terms weeks before he formally

announced his retirement from TDOC.

         14.     The RFP drafts Landers secretly sent to Wells show that Landers’ direct

report, Wainwright, was involved in the Performance Bond Change, and it is a


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reasonable assumption Wainwright would have communicated with her boss about

the issue, as she regularly shared information with Landers regarding the RFP. Upon

information and belief, Landers ultimately approved and supported the Change,

because he knew it would benefit Centurion to the detriment of other bidders.

         15.     Upon information and belief, after Centurion was awarded the Contract

under terms only Centurion could meet, the State Employee Defendants and

Centurion recognized that the Contract would not be sufficiently profitable for

Centurion if the award value remained $118,000,000.00.

         16.     Upon information and belief, the reason for this discovered lack of

profitability was because the cost of obtaining the Performance Bond was so high

that it would eat into Centurion’s profits on the Contract.

         17.     Upon information and belief, in light of this realization, the State

Employee Defendants and Centurion agreed to increase the award amount in the

Contract to $123,000,000.00, ensuring that Centurion could provide the

Performance Bond and still make its planned profit on the Contract.

         18.     Further illustrating the seemingly close relationship between TDOC

and Centurion, after TDOC’s award of the Contract to Centurion, the State

Employee Defendants declined to hold Centurion to the timing requirements of the

solicitation process for signing the Contract and providing the Performance Bond.




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         19.     The Change and the follow-on agreements and pacts between the State

Employee Defendants and Centurion all but ensure that only one participant in the

Market—Centurion—will be able to win Market services contracts in the future.

Either by explicit agreement or by an implicit agreement evidenced by their actions,

Centurion and one or more of the State Employee Defendants have committed to an

ongoing arrangement in the Market where a maximum liability performance bond

will be required for all Market services contracts, and Centurion will be the only

respondent able to meet that requirement. In the implementation process, one or

more of the State Employee Defendants and Centurion worked together to ensure

that the award amount allows Centurion to still make a profit.

         20.     The solicitation and procurement process is supposed to foster

competition, not eliminate it.

         21.     Relying on the Sherman Act, Corizon seeks a permanent injunction

enjoining further performance of the Contract. Additionally, the issues raised in this

case also have a broader implication for future contracts, like the inmate general

health care services contract that will be the subject of competition in the near future.

         22.     Accordingly, Corizon also seeks a permanent injunction not only

prohibiting the future performance of the Contract, which is the product of prior

unlawful conduct, but also prohibiting the State Employee Defendants from

imposing a maximum liability performance bond requirement in the competition for


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future inmate behavioral and/or health services contracts absent clear and express

direction from the State legislature. Corizon also seeks damages from Centurion and

Landers. Corizon also seeks attorneys’ fees.

                       PARTIES, JURISDICTION AND VENUE

         23.     Plaintiff Corizon is a provider of health care services in correctional

facilities throughout the United States. Corizon is a Missouri Limited Liability

Company with its principal place of business at 103 Powell Court, Brentwood,

Tennessee, 37207.

         24.     Defendant Wainwright is sued in her official capacity as Director of

Contracts Management for TDOC. Wainwright can be served with this Second

Amended Complaint through filing and service on counsel through the Court’s ECF

system. Wainwright was directly involved in the solicitation process and actions at

issue.

         25.     Defendant Parker is sued in his official capacity as Commissioner of

TDOC. Parker can be served with this Second Amended Complaint through filing

and service on counsel through the Court’s ECF system. Upon information and

belief, Parker was directly involved in the solicitation process and actions at issue.

         26.     Defendant Perry is sued in his official capacity as Chief Procurement

Officer for the State. Perry can be served with this Second Amended Complaint

through filing and service on counsel through the Court’s ECF system. Upon


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information and belief, Perry was directly involved in the solicitation process and

actions at issue.

         27.     Defendant Wilson is sued in her official capacity as Sourcing Account

Specialist for TDOC. Wilson can be served with this Second Amended Complaint

through filing and service on counsel through the Court’s ECF system. Wilson was

directly involved in the solicitation process and actions at issue.

         28.     Defendants John Doe 1-10 are additional individual employees of the

State of Tennessee who, acting in their official capacities, violated Corizon’s rights

under the Sherman Act in their processing, evaluating, and awarding of the Contract

to Centurion and who continue to violate Corizon’s rights and injure competition in

the Market by performing the Contract with Centurion. Corizon anticipates that

additional discovery will reveal the identities of these specific individuals and the

precise roles of each.

         29.     Defendant Centurion is a Tennessee limited liability company with its

principal place of business in St. Louis, Missouri. Centurion can be served with this

Second Amended Complaint through filing and service on counsel through the

Court’s ECF system.

         30.     Defendant Wesley Landers is an individual who resides in Georgia. He

can be served at 4565 Dartford Road, Cumming, Georgia, 30040-0444.




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         31.     This case raises a federal question under the Sherman Act (15 U.S.C. §

1 et seq.), and thus, the Court has federal question jurisdiction pursuant to 28 U.S.C.

§ 1331. The Court has supplemental jurisdiction over Corizon’s state law claims

against Centurion and Landers.

         32.     The Court has personal jurisdiction over the State Employee

Defendants as they perform their official duties in Tennessee and over Centurion

because it does business in Tennessee. The Court has personal jurisdiction over

Landers because he engaged in the underlying events in this case while residing in

this District, and the activities effected contracts performed or to be performed in

this District.

         33.     This Court is the appropriate venue for this dispute, as the agreement in

restraint of trade has been executed and occurred in this judicial district. See 28

U.S.C. § 1391 and 15 U.S.C. § 22.

                              FACTUAL ALLEGATIONS

                    General Background on the Provision of Health
                        Care Services to Inmates in Tennessee

         34.     Individuals convicted of State law crimes and sentenced to prison in

Tennessee receive health care services provided by the State.

         35.     These health care services include general medical care, as well as

behavioral health services, like treatment for psychiatric issues, alcohol and drug

abuse, and other mental issues such as depression and anxiety.

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         36.     TDOC is not in the position to furnish the personnel and expertise

required to efficiently and effectively provide these health care services to all

inmates, and thus TDOC, in conjunction with CPO, contracts with private

companies, which have specialized experience in providing inmate health care

services.

                                      The Market

         37.     Until the events giving rise to this case, there have been several

recognized companies that compete for Market contracts in Tennessee, including

Corizon, Centurion, Wellpath, Wexford, and, more recently, VitalCore. Each of

these companies has strengths and weaknesses, and they provided a full panoply of

options for the State to consider when awarding a Market services contract.

         38.     Of these entities, Centurion is not only the largest, but it is also

financially backed by an enormous corporate parent – Centene, a Fortune 100

company with more than $60 billion in annual revenue.

         39.     Corizon and Wellpath are headquartered in Tennessee, but other

Market participants, including Centurion, are headquartered in other states.

         40.     The Market has historically involved the same participants responding

to solicitations for State contracts time and time again.

         41.     Contracts in the Market are multi-year contracts that typically well

exceed $100,000,000.00 in value.


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         42.     TDOC has historically solicited proposals for these contracts in broad

categories within the Market. For instance, TDOC would solicit proposals for the

general inmate medical services contract and then separately solicit proposals for the

inmate behavioral health services contract.

         43.     The Market has, prior to the events giving rise to this case, been

competitive and has functioned effectively. In a typical scenario, TDOC/CPO would

publish a Request for Proposals and the established, recognized private companies

would respond. They would each offer prices and services consistent with the

reasonable solicitation requirements and fair competition.

         44.     Generally throughout the country, contracts between a state agency and

a private contractor in the inmate health care context sometimes, but not always,

require a “performance bond,” that is, an amount of money that the private contractor

“posts,” through a third-party surety, to reduce a state’s risk by guaranteeing

performance under a contract.

         45.     Prior to the events giving rise to this case, the amount of the

performance bond TDOC/CPO required for a Market services contract had never

been anything remotely close to an outcome-determinative consideration in the

solicitation process.




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         46.     This is because the terms of the Market services contracts proposed by

TDOC/CPO have consistently required only a modest performance bond, generally

less than 5% of the contract value, and often much less.

         47.     This policy and practice is consistent with Tennessee law, which vests

CPO with the right, but not the obligation, to require an “appropriate” performance

bond for a State contract. See Tenn. Code. Ann. § 12-3-502(i). CPO, in turn, defers

to TDOC with respect to the need for and amount of a performance bond, if any,

associated with a particular contract.

                      Corizon’s Business and Work in Tennessee

         48.     Corizon provides inmate health care services throughout the country,

but is headquartered here in the Middle District, in Williamson County, Tennessee.

         49.     Corizon has been in the inmate health care services business for more

than 40 years, focusing on a science-based approach that protects inmate mental and

physical health in a cost-effective and efficient manner.

         50.     Corizon was awarded the previous two consecutive Tennessee inmate

behavioral health care services contracts in 2012 (the “2012 Contract”) and again in

2016 (the “2016 Contract”). In both instances, Corizon’s contracts were awarded

following an open and competitive solicitation process, in which the amount of the

performance bond was not a material consideration.




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         51.     Since 2012, Corizon has performed its responsibilities and obligations

under the Tennessee inmate behavioral health services contract with integrity and

fairness and without complaint from the State.

         52.     Over the eight years, Corizon built a strong partnership with TDOC,

substantially improving the provision of behavioral health services to inmates in

Tennessee.

       Corizon’s and TDOC’s Historic Experience with Performance Bonds

         53.     The 2016 Contract, which expired on November 1, 2020, had a value

of approximately $76,000,000.00. That is, the State paid Corizon $76,000,000.00

to provide behavioral health services to certain Tennessee inmates.

         54.     Consistent with prior practice, the 2016 Contract had a modest

performance bond requirement of $1,000,000.00, approximately 1.3% of the value

of the 2016 Contract.

         55.     For more than a decade, Corizon has sought to win contracts in the

Market. Throughout that time period, TDOC/CPO have always required only a

modest and “appropriate” performance bond to secure the performance of a Market

services contract, typically much less than 5% of the maximum value under any

given contract.

         56.     For example, in 2009, Corizon was awarded the general medical

services contract in the Market (the “2009 Contract”). The 2009 Contract was worth


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more than $181,000,000.00.           The performance bond on that contract was

$5,000,000.00, or about 2.8% of the contract value.

         57.     This low ratio of performance bond to award value is consistent with

Corizon’s experience in other states where it provides inmate behavioral health

services.

         58.     Corizon also does business with several states (including Michigan,

Maryland, and Wyoming) that require no performance bond whatsoever for their

inmate health care services contracts.

         59.     Throughout the course of Corizon’s relationship with the State, TDOC

has never suggested that any performance bond furnished by Corizon for a Market

services contract was inadequate.

         60.     TDOC has likewise never made a claim on the performance bond of

any Corizon contract with the State or, upon information and belief, any other

performance bond associated with any contract for behavioral health or general

medical services.

                       Requiring a Large Performance Bond
                    Makes No Sense for Market Services Contracts

         61.     The previously existing policy and practice of TDOC and CPO to

require a modest performance bond in a Market services contract makes sense and

fosters competition.



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         62.     Large performance bonds are typically required only when there is a

substantial risk that the contractor’s failure to perform will expose the State to

significant losses.

         63.     The purpose of a performance bond in the context of a multi-year

services contract is to reimburse the obligee for its expenses incurred in finding a

replacement provider in the event the bonded provider defaults under the Contract.

         64.     If the winning bidder stopped providing inmate behavioral health

services to TDOC, the costs of finding a replacement would, of course, be much,

much less than the value of the contract.

         65.     Moreover, in a Market services contract, TDOC can track the quality

of services provided and control the taxpayer investment by paying for services only

after they are rendered.

         66.     Also, TDOC can terminate a Market services contract for any reason

upon 30 days’ written notice. In sum, the terms of the Market services contracts and

the circumstances under which they are performed provide the State with ample

opportunity to control its risk.

         67.     This is distinct from a setting where large performance bonds are

reasonable, such as in the construction context. In that context, CPO/State agencies

have required a “maximum liability performance bond,” meaning that a construction




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contractor must provide a bond of 100% of the maximum value of the contract as a

condition of being awarded the contract.

         68.     A maximum liability performance bond in the construction context

guarantees that, in the event of the contractor’s default, the surety can be called upon

to step into the shoes of the contracting party and complete the construction in

accordance with the contract plans and specifications and pay for any costs incurred

in excess of the original contract amount. Because these construction costs can be

considerable and estimates may be inaccurate, a maximum liability performance

bond is industry standard in the construction context.

         69.     Requiring a maximum liability performance bond for a Market services

contract exceeding $100,000,000.00 serves no reasonable interest, increases

taxpayer cost, and stifles competition.

         70.     A surety will require a party seeking a large performance bond to have

great financial strength and strong collateral as a condition of providing the bond.

         71.     Regardless of the appropriateness of the bond to the circumstances, the

surety will only underwrite the bond based on the provider’s ability to reimburse the

surety for losses incurred under the bond at that full bond amount.

         72.     Inmate health care service providers are not set up like the massive

companies that finance enormous construction projects. They lack that level of

investment and financing, because their business model is obviously different.


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                       The Initial Solicitation Process for the Contract

         73.     Solicitations for State inmate health services contracts begin with the

State issuing a Request for Proposals.              With the end of the 2016 Contract

approaching, CPO and TDOC, through Defendant Wilson, issued the RFP for a new

behavioral health services contract on or about August 8, 2019 (“RFP Release 1”).

A true and correct copy of an excerpt from RFP Release 1 is attached as Exhibit A.

         74.     RFP Release 1 solicited proposals for a multi-year contract to provide

behavioral health services for certain State-managed prison and inmate health care

facilities throughout the State. Everyone involved in the bidding expected the value

of the Contract to exceed $100,000,000.00.

         75.     The solicitation process, timeline, and delivery requirements are set

forth in various amendments to the RFP.

         76.     The final RFP amendment (“RFP Amendment 18”) set the following

deadlines:

                 (A)     July 16, 2020 for TDOC to issue an award decision;

                 (B)     July 23, 2020 for any protest (i.e., the end of the open file period);

                 (C)     July 31, 2020 for the Contract to be signed; and

                 (D)     August 4, 2020 for the delivery of the Performance Bond.

See RFP Amendment 18 attached as Exhibit B.




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         77.     Consistent with the policy and previous practice of requiring relatively

modest, but reasonable, performance bonds in Market services contracts, RFP

Release 1 stated that the winner of the Contract would be required to post a

$1,000,000.00 performance bond.

         78.     Section 1.10 of RFP Release 1 expressly states:

         The State shall require a Performance Bond upon approval of a contract
         pursuant to this RFP. The amount of the Performance Bond shall be a
         sum equal to one million dollars ($1,000,000) and said amount shall not
         be reduced at any time during the period of the contract.

See RFP Release 1, Exhibit A, at § 1.10 (emphasis original).

         79.     RFP Release 1 also included a “bond form.” The bond stated in RFP

Release 1 is consistent with the bond form used when the amount of the performance

bond is set at a small portion of the total maximum liability under the contract,

referred to as a partial penalty bond.

         80.     The bond form, the plain language of Section 1.10 of RFP Release 1,

and the consistent, established CPO/TDOC practice of requiring a modest,

reasonable performance bond for Market services contracts all clearly indicated that

the performance bond for the Contract would be the same as the performance bond

for the existing behavioral health services contract, $1,000,000.00.

         81.     Over the next several months, respondents submitted questions to

Wilson and worked on gathering and providing additional information in support of

their proposals.

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         82.     Corizon operated under the impression that the performance bond

requirement would be $1,000,000.00, the same as the performance bond requirement

of the 2016 Contract and, upon information and belief, other respondents—with the

possible exception of Centurion—did as well.

                         Landers Colludes with Centurion and
                    the Performance Bond Requirement Skyrockets

         83.     Landers served as TDOC’s CFO from approximately September 2012

until mid-March 2020.

         84.     From March 2020 to February 2021, he was the Vice President of

Operations for Centurion of Georgia.

         85.     Landers’ employment was recently terminated by Centurion after it

became apparent that his misfeasance was going to come to light as a result of the

lawsuit.

         86.     Although the RFP identified Wilson as the only appropriate State

employee for purposes of communications between respondents and TDOC

regarding the RFP, from at least February 2019 (but likely much earlier) through his

formal hiring by Centurion more than a year later, Landers regularly and secretly

sent private, sensitive internal communications among State officials to Wells and

others at Centurion.




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         87.     For instance, Landers and Wells shared the following communications:

                 (A)   On March 21, 2019, Landers forwarded to Wells a lengthy

February 27, 2019 email string between and among himself, Wainwright, and CPO’s

Kelly Johns (“Johns”) discussing how TDOC/CPO might calculate maximum

liability for purposes of the Contract (with “maximum liability,” of course being the

term of art ultimately tied to setting the amount of the outrageous performance

bond). See Exhibit C.

                 (B)   Also on March 21, 2019, Landers forwarded to Wells a February

27, 2019 email from Johns to Landers and CPO’s Katherine Weaver titled

“Behavioral Health RFP - max liab question.” Attached to that email, which was

also forwarded by Landers to Wells, is a draft of the behavioral health RFP.

Centurion thus had access to the behavioral health RFP approximately five months

prior to other respondents. See Exhibit D. Wells forwarded this email and the draft

RFP to Centurion’s Vice President of Operations, Samantha Phillips (“Phillips”) on

July 13, 2019, about a month before the RFP was made publicly available. See

Exhibit E. Upon information and belief, Wells and Phillips shared this e-mail and

similar documentation with others within Centurion.

                 (C)   On May 22, 2019, Landers forwarded an email chain containing

email correspondence dating back to April 15, 2019, between and amongst Landers,

Wilson, Wainwright, along with CPO’s Kevin Bartels (“Bartels”) and Nicholas


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Edwards (“Edwards”), discussing revisions and changes to the behavioral health

RFP. Landers forwarded this email chain to Wells, Sean Hosman (“Hosman”) and

Marjorie Rist (“Rist”), two employees of a correctional industry consulting company

called “Vant4ge,” which was, upon information and belief, assisting Centurion with

the bid for the Contract. Attached to this email was a current draft of the behavioral

health RFP, again made available to Centurion and its consultants months before it

was publicly available. See Collective Exhibit F. Tellingly, Landers’ lead-in for

the e-mail was, “As promised.” The fact that Landers had previously promised to

deliver the materials and the fact that he knew that the consultants Hosman and Rist

were working with Centurion despite the absence of any other communication

identifying them illustrate clearly that Landers and Wells had other communications

regarding the RFP that have not been disclosed.

                 (D)   On June 19, 2019, almost two months before the RFP was

publicly available, Landers sent to Wells what is, upon information and belief, an

internal draft TDOC/CPO spreadsheet entry showing the timing under which

proposed events in the Contract solicitation process would likely take place and

made sure that Centurion was immediately aware when the actual RFP was issued.

See Exhibit G; see also Exhibit H, Landers forwarding to Wells Wilson’s August

7, 2019 email publishing the RFP.




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                 (E)   On January 3, 2020, Landers forwarded to Wells a draft version

of RFP Release #2 with the cover email between Wainwright and Landers, in which

Wainwright says “CPO’s review comments of Release 2. My responses are noted

in bold. I have addressed many of the comments, but am still working through . . .”

See Collective Exhibit I.

                 (F)   Attached to this January 3, 2020 email is a draft version of RFP

Release #2, the document that made the Change to the performance bond. That is,

Landers sent Wells this document about two months before the Change was

announced. This draft version shows dozens of internal comments and discussions

about the RFP. As to the performance bond itself, which was dramatically changed

in this RFP Release #2, the draft shows the new maximum liability performance

bond language and Wilson asking, “Has CPO Risk Management reviewed this

section?” To which Edwards responds, “If this hasn’t changed from the initial

posting, why would risk mgmt. need to review again?” To which, Wainwright, in

bold, responds “This is in keeping with current RFP and fee for service contract

template language. Please advise if there are additional considerations of which

TDOC is unaware.” See Collective Exhibit I.

                 (G)   On January 15, 2020, Landers sent to Wells and Phillips, again

another Centurion Vice President, an email between and among TDOC leadership

(including Defendants Landers and Parker) titled “December 2019 Monthly Report


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                                     26
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for Behavioral Health,” pointing out increases in caseload. See Collective Exhibit

J. Again, Landers’ unsolicited copying of a third party—Phillips—demonstrates the

occurrence of other undisclosed communications.

                 (H)   Attached to this email was a report that Corizon sent to the State

discussing various issues related to the then-current behavioral health contract. See

Collective Exhibit J.

         88.     In exchange for providing this dishonest and almost certainly illegal

service of conveying private, inside, materially advantageous material to Centurion,

Landers was rewarded with a job with the company. Wells began recruiting Landers

to Centurion no later than October 16, 2019, when Wells sent to Landers a copy of

Centurion’s summary of benefits information. See Exhibit K.

         89.     Landers had an incredibly smooth path to employment. He never even

formally interviewed for the job.

         90.     With his employment at Centurion assured, Landers sent his

“retirement” notice to TDOC on February 6, 2020. Landers forwarded that notice

to Wells with the note “And that’s wrap.” See Exhibit L.

         91.     Even though Landers’ retirement was supposedly not effective until

March 15, 2020, he apparently was hired and working for Centurion by March 2,

2020, because on that date, Wells sent Landers an email saying, “First day on the

job and screening your calls” See Exhibit M.


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                                     27
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         92.     Landers and Wells communicated much more extensively than is

outlined above.       They regularly communicated via the encrypted chat service

“WhatsApp,” and their phone logs show regular, lengthy telephone discussions.

After the filing of this lawsuit, Wells deleted WhatsApp from his telephone. Wells

also deleted his text messages with Landers. Landers likewise took steps that he

knew would result in the destruction of vital evidence, including turning in his

TDOC-issued cell phone containing “WhatsApp,” knowing that it would be wiped

and/or disposed of, without telling anyone at TDOC that it contained

communications regarding TDOC business. Landers also used third-party software

to set his Gmail to auto-delete his messages, including his sent messages.

         93.     As shown by the above emails, as a senior leader on TDOC’s executive

team, Landers was directly involved in the behavioral health RFP. TDOC was

ultimately responsible for all material terms in the Contract, including the amount of

the Performance Bond.

         94.     Landers had at least bi-weekly meetings with Defendant Parker and

other TDOC senior executives. He also regularly consulted with his subordinate

Defendant Wainwright about the terms of the Contract.

         95.     In these regular meetings, Landers provided updates to Defendant

Parker on the Contract RFP process and gave direction to Defendant Wainwright.

That is, Landers was regularly involved in discussion about the RFP for this Contract


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with Defendants Parker and Wainwright throughout the bid solicitation until he left

TDOC to take a job at Centurion in March 2020. These updates were, upon

information and belief, relayed regularly to Centurion, through Wells.

         96.     True and correct copies of a series of e-mails from and to Landers that

were produced by the State as part of the post-award open file disclosure process are

attached as Collective Exhibit N (the “Internal Landers Communications”). These

communications demonstrate some, but not all, of the communications Landers had

within TDOC about the RFP. Indeed, this written correspondence does not capture,

upon information and belief, the repeated, regular oral communications Landers had

with Defendants Parker and Wainwright throughout a substantial portion of the

Contract solicitation process.

         97.     At the same time as Landers was communicating with Defendants

Parker and Wainwright (and potentially others within TDOC and CPO) about the

Contract procurement process, he was also secretly communicating with Wells and

others at Centurion about the behavioral health RFP and his new job.

         98.     True and correct copies of a series of e-mails between Landers and

Centurion that were produced by the State as part of the post-award open file

disclosure process are attached as Collective Exhibit O. (the “Landers/Centurion

Communications”). These communications of course do not remotely capture the

universe of communications between Landers and Centurion during this time period,


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because Landers used his private Gmail account to furnish Centurion with inside

information on the bidding process. As such, none of the highly inappropriate

communications detailed in Paragraph 87 above were included in the post-award

open file.

         99.     Landers secured an offer of employment with Centurion, and, upon

information and belief, that offer was in place by late January 2020. Landers was

planning to leave public sector employment and become a Centurion employee at

that time.

         100. Despite the fact that Landers negotiated and secured a lucrative job with

one of the respondents under consideration, and the fact that he was conveying

sensitive internal information about the bidding process, for months, he continued

to communicate with Defendants Parker and Wainwright about the status and terms

of the Contract solicitation. See Internal Landers Communications and

Landers/Centurion Communications, Collective Exhibits N and O.                   Upon

information and belief, the sum and substance of most, if not all, of these discussions

was conveyed to Centurion by Landers to Wells through phone conversations,

emails, text messages, or WhatsApp chats.

         101. At the same time, RFP Release 1 was revised to require that the winning

respondent post a performance bond equal to “one hundred percent (100%) of the

awarded contract maximum liability.”          Upon information and belief, TDOC


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consulted with Defendant Perry, the Chief Procurement Officer, in connection with

the Performance Bond Change. Upon further information and belief, the decision to

make the Performance Bond a “maximum liability” bond was made by TDOC,

including Landers.

         102. Centurion is backed by a massive corporate parent, Centene, and is in

a much better position to satisfy the new bonding requirement than the other Market

participants.

         103. On February 18, 2020, Landers formally accepted the employment with

Centurion that had been offered to him weeks earlier.

         104. On February 25, 2020, Wilson publicized the Change, issuing a revised,

amended RFP (“RFP Release #2”) to the respondents with the requirement that the

winning respondent provide a performance bond in the amount of the “maximum

liability” of the Contract. A true and correct copy of an excerpt from RFP Release

#2 is attached as Exhibit P.

         105. RFP Release #2, issued February 25, 2020 states:

         The State shall require a Performance Bond upon approval of a contract
         pursuant to this RFP. The amount of the Performance Bond shall be a
         sum equal to one hundred percent of the contract’s maximum liability
         and said amount shall not be reduced at any time during the period of
         the contract.

See RFP Release #2, Exhibit E, at § 1.10 (emphasis original).




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         106. The very next day, on February 26, 2020, Centurion delivered its “New

Hire Welcome Packet” to Landers.           See Landers/Centurion Communications,

Collective Exhibit O.

         107. The State’s official records indicate that Landers “retired.” A true and

correct copy of Landers’ March 16, 2020 TDOC Resignation Form produced by the

State as part of the post-award open file disclosure process is attached as Exhibit Q.

Landers, of course, started working at Centurion two weeks before that form was

signed.

         108. Heightening the sense of dubiousness regarding the entire process, the

Performance Bond Change was sudden and haphazard. The previously supplied

“bond form” did not change, remaining consistent with a partial penalty bond.

         109. Further, the Contract states that the amount of the Performance Bond

will not decrease during the life of the Contract.         This makes sense if the

Performance Bond is modest and tied to the costs of a discrete event, such as the

service provider ceasing services and a new provider needing to be found. It makes

no sense in the context of a maximum liability bond. TDOC’s actual (and nominal)

risk drops as time passes. This is another reason why the Performance Bond

requirement in RFP Release #2 does not reconcile with customary surety practices

and norms, is not appropriate in the context of this services contract, and the

circumstances surrounding its implementation are extremely suspect.


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         110. The slapdash, haphazard way that a massive change was made to the

terms of a very significant State contract demonstrates that the Change was not made

consistent with customary protocols.

         111. Corizon, despite being a financially strong competitor and a very

successful company, could not secure a $118,000,000.00 performance bond.

         112. Upon information and belief, no Market competitor other than

Centurion could provide such a bond.

         113. Even if these companies could obtain approval for such an enormous

bond, they would have to pay for it. The cost of an outsized performance bond would

have to be factored into the overall proposal submitted to the State, which increases,

in turn, the cost of a contract to the State (and thus to the taxpayer).

         114. Requiring a maximum liability performance bond in a Market services

contract bears no rational connection to the magnitude of the risk incurred by the

State, a point TDOC has implicitly recognized by consistently requiring only a

modest performance bond in connection with such contracts.

                 Corizon Challenges the Changed Solicitation Terms

         115. Corizon repeatedly raised concerns with various State Employee

Defendants about the Performance Bond Change.

         116. On May 20, 2020, Thomas Alsup, a Corizon representative involved in

the solicitation process, emailed Defendant Wilson, the individual identified in the


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RFP as the sole appropriate contact person for all RFP- and Contract-related

communications, stating that the bonding requirement change was “highly unusual”

and that “bond companies will not write a bond for the size value the State is

requesting.” True and correct copies of communications between Alsup and Wilson

are attached as Collective Exhibit R.

         117. Alsup suggested the Change had been a misunderstanding, reminding

Wilson that the prior contract had a $1,000,000.00 performance bond, which was

industry standard and consistent with TDOC’s prior practice. Id.

         118. Wilson responded on May 26, 2020, stating the bond requirement

would not be changed. Id.

         119. Alsup responded the same day, pointing out there was no State policy

that supported such a massive performance bond in a Market services contract, and

such large maximum liability performance bonds, per State policy, were traditionally

reserved for the construction context. Id.

         120. Alsup explicitly asked Wilson to provide the State policy that would

support such an enormous bond in a Market services contract. Id.

         121. Wilson did not provide any such policy.

         122. Alsup followed up with Wilson on June 1, 2020, providing the bonding

requirement language for the inmate health services contract for the Commonwealth




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of Pennsylvania, a contract with a maximum value of approximately

$250,000,000.00 and a $5,000,000.00 performance bond.

         123. Wilson did not respond to that email.

         124. Despite the Change, Corizon attempted to submit a reasonable proposal

that did not require a 100% maximum liability performance bond.

         125. In a June 4, 2020 letter back to Corizon in response to this submission,

Wilson stated “it appears that exceptions were taken to the mandatory requirement

for the Performance Bond . . . A response must not include alternate contract terms

and conditions. If a response contains such terms and conditions, the State, at its sole

discretion, may determine the response to be a nonresponsive counteroffer and reject

it.” True and correct copies of Wilson’s June 4, 2020 letter to Corizon and Corizon’s

response to the same are attached as Collective Exhibit S.

         126. Wilson informed Corizon that the alternative performance bond

arrangement needed to be withdrawn, or TDOC would reject Corizon’s proposal on

that basis. Id.

         127. The next day, Corizon responded, acknowledging Wilson’s letter and

stating that “Because of the unprecedented bond amount, Corizon Health needs

additional time to make a determination on this exception. In addition, the result of

this will likely result in a substantial price increase of approximately 10%.” Id. That

is, Corizon, while unable to actually secure a bond of the size required, correctly


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identified that the performance bond required by the State would require a significant

increase in the Contract price.

         128. Corizon requested an additional week to consider the matter. Id.

         129. Wilson rejected Corizon’s request. Corizon’s submission was deemed

non-responsive and Corizon was disqualified from the potential Contract award. Id.

         130. Corizon’s legal counsel also reached out to CPO raising concerns about

the changed bonding requirement and the involvement of Landers in the solicitation

process – to no avail. See June 12, 2020 Letter from Corizon’s Counsel to Defendant

Wilson (the “Wilson Letter”) attached as Exhibit T.

         131. In the Wilson letter, Corizon directed specific, pointed questions to

Wilson about Landers’ involvement in the Contract solicitation:

                 ***

               5)    Has Centurion been asked to confirm in writing and under
         oath that Landers had no involvement in Centurion’s response to the
         RFP and provided no information regarding TDOC to Centurion?

               6)    Has Mr. Landers been asked to confirm in writing and
         under oath that he had no involvement in Centurion’s response to the
         RFP and provided no information regarding TDOC to Centurion?

               7)    Has the Central Procurement Office taken any additional
         steps to determine whether Centurion has an Unfair Competitive
         Advantage, as that term is used in the Conflict Policy, as a result of Mr.
         Landers’ employment?

         132. The State, through Bartels, an attorney for CPO, responded to the

Wilson letter stating that CPO found no conflict. It is obvious, however, that CPO

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did not give Corizon’s concerns meaningful attention and did not ask any of the key

questions that would have readily brought the wrongdoing of Landers and Centurion

to light.

         133. The State Employee Defendants never denied that Landers was

involved in the consideration of the respondent submissions, or that he went to work

for Centurion following the Change and while the solicitation process was ongoing.

Nor have they identified any logical rationale for the Change.

         134. There has been no indication that the State Employee Defendants plan

to restore the performance bond requirement to more reasonable levels in future

solicitations for service contracts in the Market. Upon information and belief, the

State Employee Defendants intend to require a maximum liability performance bond

on all future contracts in the Market.

         135. Generally, the State Employee Defendants have, to date, chosen to look

the other way despite the massive fraud that infected this solicitation process. The

State’s unwillingness to take action against Centurion is difficult to understand

unless Landers is not the only bad actor.

                    TDOC Awards the Contract to Centurion,
         Disregards the Contract Terms, and Increases the Award Amount

         136. After the Change was formalized, Centurion, as part of submitting its

proposal, produced a letter to Wilson stating that Centurion had bonding capacity in

excess of $500,000,000.00 in the aggregate and bonding capacity in excess of

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$100,000,000.00 for any individual contract. Centurion, of course, had significantly

more time than any other bidder to come up with the bond because they knew about

the Performance Bond Change approximately six weeks earlier than any other

bidder.

         137. No other respondents submitted a letter making similar representations

and, upon information and belief, no other respondent was in a position to do so. As

stated above and repeated here, Corizon did not have the ability to obtain a maximum

liability performance bond for the Contract.

         138. No respondent provided demonstrable proof of an ability to provide the

maximum liability performance bond during the solicitation process. Expert review

of the finances of WellPath, VitalCore and Wexford shows that none of them have

the equity nor liquidity positions needed to support a performance bond of this size,

duration, and type of obligation.

         139. Upon information and belief, the Contract could not be awarded and

approved without the agreement of Defendants Wilson, Parker, Perry, and

Wainwright, who all, along with certain John Doe Defendants, approved the

awarding of the Contract to Centurion, despite the deviation from longstanding

practice.




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         140. On July 16, 2020, consistent with the deadline set in RFP Amendment

18, Wilson notified the various respondents that the State intended to award the

Contract to Centurion.

         141. The State Employee Defendants thereafter took deliberate actions to

move the Contract toward implementation despite the fact that its terms are

inconsistent with State policy and procedure, and despite the damaging impact to

competition in the Market. These actions, taken in conjunction and agreement with

Centurion, were in clear, unreasonable restraint of trade and entirely inconsistent

with an open, transparent competitive bidding process.

         142. The RFP required that the Contract be signed by July 31, 2020, and that

Centurion post the massive performance bond on or before August 4, 2020. That is,

Centurion was obligated to have both signed the Contract and posted a performance

bond of the amount of the Contract – at that time, $118,000,000.00 – by no later than

August 4, 2020.

         143. These are clearly stated conditions, and any winning bidder was

required to meet the conditions in that timeframe.

         144. After the deadline to protest the award expired on July 23, 2020, the

State Employee Defendants, in agreement with Centurion, relieved Centurion of




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both deadlines, giving Centurion, upon information and belief, an open-ended

extension to provide the performance bond.

         145. After Corizon learned of and pointed out this anomaly with respect to

the timing to TDOC, Young, TDOC’s Inspector General, told Wilson “I really don’t

have patience for them being whiny . . .” A true and correct copy of communications

between Young and Wilson are attached as Exhibit S.

         146. At the time a protest would have been filed, Corizon had no hard

evidence and no access to hard evidence that Landers was secretly helping Centurion

because Landers was doing so outside of normal channels. Landers’ improper

communications with Wells were not in the open file materials, where they were

supposed to be.

         147. Upon information and belief, Landers acted intentionally to keep his

communications with Centurion regarding the RFP and the Contract out of the open

file materials.

         148. Upon information and belief, neither TDOC nor CPO made any efforts

to determine whether communications outside the proper channels had occurred in

gathering the open file materials.




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         149. Long after the time to protest the bid award had expired, the State

Employee Defendants, in agreement and conjunction with Centurion, increased the

amount of the award for the Contract from approximately $118,000,000.00 to more

than $123,000,000.00.

         150. Corizon asked TDOC/CPO to explain the reason for the post-award

increase. No explanation was provided.

         151. Upon information and belief, the amount of the award for the Contract

was increased from $118,000,000.00 to $123,000,000.00 to provide for the

additional funds Centurion would need to pay for the performance bond that it could

not provide on August 4.

         152. That is, upon information and belief, after the Contract was awarded to

Centurion, and the parties thereto realized Centurion could not actually perform

under its terms, TDOC agreed to increase the Contract award amount by

$5,000,000.00 from approximately $118,000,000.00 to more than $123,000,000.00

to cover Centurion’s additional costs associated with providing the maximum

liability performance bond.

         153. None of this latter conduct is remotely consistent with fair and open

bidding, transparency, or competition. Instead, it demonstrates continued efforts to

use an unreasonable bonding requirement as a tool to eliminate competition in the

Market and award Market contracts to Centurion.


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         154. The Contract between TDOC and Centurion was signed on August 20,

2020, and went into effect on November 1, 2020. Id. A true and correct copy of the

Contract signed by the State and by Centurion is attached as Exhibit U.

         155. Although the precise date that Centurion provided the Performance

Bond to TDOC is unknown, it could have been no earlier than October 8, 2020, the

date it was signed and a date long after the delivery deadline set by RFP Amendment

18. A true and correct copy of Centurion’s performance bond is attached as Exhibit

V.

                 The Termination of Wells’ and Landers’ Employment

         156. As a result of the lawsuit, it became apparent that Landers’ and Wells’

wrongdoing was going to be revealed.

         157. On February 11, 2021, Centurion, in an attempt to control the damage

and, acting through Wheeler (again, Centurion’s CEO), terminated the employment

of Landers and Wells.

         158. On February 16, 2021, Wheeler reached out to Parker, as the head of

TDOC, by e-mail. Wheeler described his decisions to fire Landers and Wells, two

egregious wrongdoers, as “a couple of the toughest decisions I have dome [sic] in




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my career.” See February 16, 2021 Wheeler E-mail to Parker attached as Exhibit

W.

         159. Despite firing Landers and Wells, Wheeler incredibly put Phillips, who

had also been the recipient of highly improper communications from Landers, in

charge of the TDOC Contract as Wells’ replacement. See Phillips’ Texts with

TDOC attached as Exhibit X.

                   The Continuing Efforts to Hide and Obstruct

         160. On March 11, 2020, prior to Corizon’s receipt from Centurion of the

documents referenced in Paragraph 87 above, Corizon took the depositions of

Landers and Wells.

         161. Landers and Wells produced none of the documents identified in

Paragraph 87.

         162. Corizon learned during the deposition about the “WhatsApp”

communications and the destruction of evidence referenced above.

         163. Landers acknowledged in his deposition that he had no business reason

to communicate with Centurion regarding the behavioral health contract solicitation.




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         164. Landers stated that he had no specific or general recollection of using

either of his cell phones to communicate with Wells or anyone else at Centurion

while employed by TDOC regarding the RFP.

         165. Landers likewise stated that any communications he had with

Centurion using his Gmail account prior to the time he joined Centurion would have

been regarding operations under a different contract between TDOC and Centurion.

         166. Landers further testified that he never intentionally used his personal

Gmail account to communicate with Centurion.

         167. Landers was directly asked whether he sent RFP Release #2 to Wells

before it was issued publicly. He stated: “You know, again, not to my recollection.

It’s unlikely.” When asked whether it was possible that he did that, Landers stated:

“No. I don’t know. Maybe. But, again, that would be highly unusual.” Landers

went on to say that if he did send RFP Release #2 to Centurion, it would not have

been intentional and the result of an accident of some sort.

         168.    Wells was asked in his deposition whether he ever had any

communications with any employee of any state agency, Tennessee or otherwise,




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during an ongoing solicitation other than the employee designated on the solicitation

as the single point of contact. Wells unequivocally answered “No.”

         169. Wells was likewise directly asked about whether he received RFP

Release #2 from Landers before it was issued publicly. He stated: “Not that I

recall.”

                 Damage to the Market from Defendants’ Conduct

         170. The Market is a specialized, critically important market in Tennessee.

Before the events giving rise to this case, it involved a handful of private contractors

who, through the benefit of their experience and expertise, competed to provide cost-

effective and supportive care and treatment to inmates housed in Tennessee prisons.

         171. This Market is of critical importance to Tennessee residents, who are

ultimately funding the work done by these private companies and who have an

indirect interest in seeing that inmates in Tennessee prisons have their health care

needs met in a cost-effective, but also compassionate, manner.

         172. The Market is also of critical importance to the inmates themselves,

who have a direct interest in quality health services while they pay their debt to

society and await reentry.

         173. This Market has previously functioned efficiently.         The State of

Tennessee, pursuant to Tennessee law and the procurement policies and procedures

that implemented that law, solicited proposals from time to time from established,


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                                     45
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recognized private inmate health care service providers to provide health care

services to inmates.

         174. Because of the specialized nature of the Market, the same several

respondents were often involved. However, competitive responses were submitted

by companies across the economic spectrum, from enormous companies backed by

massive corporate parents like Centurion to smaller companies based in and outside

of Tennessee.

         175. The State’s policy of tying procurement considerations to the cost-

effective provision of quality services kept the Market running effectively, where all

respondents had a reasonable opportunity to compete for a Market services contract.

         176. The State Employee Defendants’ decision to change the performance

bond requirements—approximately 6 months after the original RFP was issued—

for the Contract and apparently for all Market services contracts thereafter

eliminated competition in the Market.

         177. Upon information and belief, only Centurion, backed by its massive

corporate parent, Centene, is in the position to obtain the performance bonds

required in the Contract and that will be required for Market contracts going forward.

         178.    The conduct and agreements between and amongst Centurion and one

or more of the State Employee Defendants have given Centurion an unjustified and

unearned monopoly in the Market.


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                                     46
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         179. The State Employee Defendants’ actions are not supported by law or

regulation, and the secret communications between Landers and a vice president of

Centurion (and others associated with Centurion) are obviously completely

inconsistent with law and regulation and are wildly improper.

         180. Indeed, in its laws and regulations, the State has committed to

(i) competitive, fair procurement for government contracts, (ii) not imposing

unreasonable or outlandish terms that benefit only certain entities, (iii) imposing

only “appropriate” performance bonds, and (iv) avoiding actual and potential

conflicts of interest in the solicitation process. See e.g. T.C.A. § 12-3-501 (public

contracts shall be awarded by “competitive sealed solicitations by the central

procurement office”) (emphasis added); T.C.A. § 12-3-502(i) (procurement bonds

are not required for State contracts/performance bonds “appropriate” in amount may

be required).

         181. For instance, CPO, in recognition of the vital role fair and transparent

public solicitation and purchasing plays in the State, has issued a comprehensive

Business Conduct and Ethics Policy (the “Policy”), Policy Number 2013-009 (as

amended August 17, 2017). A true and correct copy of the Policy is attached as

Exhibit Y.

         182. That Policy commits the State to full and open competition,

transparency, and the avoidance of even the appearance of impropriety. The Policy


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is binding on all State employees involved in the procurement of government

contracts. This Policy was violated to an extreme degree in this case. And

CPO/TDOC have done absolutely nothing to rectify those violations. Again, the

company directly involved in these improper communications, and which benefited

from them, still enjoys the profits from its misconduct.

         183. Paragraph 4 of the Policy states “[a]ll Central Procurement Office or

Covered State Agency Personnel involved in public Procurement or Contract

Administration must act in good faith and deal with the public in a fair and impartial

manner. All Central Procurement Office or Covered State Agency Personnel must

act with honesty and integrity and shall remove themselves from Procurement or

Contract Administration in the event they cannot act in good faith or conduct their

work in a fair and unbiased manner.”

         184. Here, the State Employee Defendants abandoned settled policy and

practice consistent with State law, instead embracing an irrational performance bond

requirement that eliminated the competitive process that the relevant statutes and

regulations are designed to foster.

         185. Centurion and other Market participants are located in other states. The

profits Centurion receives from the Contract are received and enjoyed by Centurion

in other states.




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         186. Upon information and belief, goods used in connection with providing

inmate behavioral health services to the State have in the past and will in the future

be purchased outside the State.

         187. In performing the 2012 and 2016 Contracts, physicians employed by

Corizon have used medications manufactured outside the State and any respondent

under the Contract will necessarily do the same.

         188. Upon information and belief, the bonding company that Centurion used

to obtain the bond for the Contract is based in Indiana. Upon information and belief,

that same bonding company will be used by Centurion again when it obtains future

Market services contracts.

         189. The requirement of a maximum liability performance bond for Market

contracts will unreasonably tie up a substantial portion of any Market participant’s

bonding capacity (which is generally not elastic), eliminating or substantially

limiting the ability of any Market participant with an existing Market services

contract from bidding on similar work in other states, further affecting interstate

commerce.

         190. As Corizon was the incumbent provider of behavioral health services

to inmates in Tennessee, and had provided such services for eight years without

complaint from the State, Corizon, if it had been given a fair opportunity to bid,




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would have been selected as the winning bidder of the Contract and/or would have

had the term of the 2016 Contract extended pending a new solicitation and award.

                   TDOC’s Refusal to Address the Wrongdoing

         191. The Contract provides that TDOC may terminate the Contract upon 30

days’ notice, providing a mechanism for prompt termination of the Contract. That

is, if TDOC wanted to sanction Centurion for the obviously improper actions that

infected the bidding process for this Contract, it could easily do so.

         192. TDOC could likewise disavow its intention to require unnecessarily

large performance bonds on service contracts going forward.

         193. To date, TDOC has failed to take that action, choosing instead to

continue to work with a company that has demonstrated clearly that it has no respect

for an honest solicitation process, and sending a message to companies that would

compete for work with the State of Tennessee that flouting the State’s laws,

regulations, and rules regarding contract procurement will be accepted and, indeed,

rewarded.




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                                CLAIMS FOR RELIEF

                       COUNT I - VIOLATION OF 15 U.S.C. § 1
                 (Against Centurion and the State Employee Defendants)
                          Illegal Contract in Restraint of Trade

         194. Corizon re-alleges and asserts the foregoing paragraphs as if fully

restated herein.

         195. Defendants, by and through their anticompetitive actions as outlined

herein, have entered a contract, combination, or conspiracy in restraint of trade and

commerce.         Centurion is liable for the acts of Wells and all other Centurion

employees who worked to improperly obtain and use information and/or who

otherwise worked to restrain trade to Centurion’s benefit.

         196. The terms of the Contract with Centurion—specifically the

performance bond requirement—prevented every Market participant but Centurion

from being able to compete for, and enter into the Contract. There is no indication

the State Employee Defendants will not require a maximum liability performance

bond for Market contracts in the future, and such requirement will, upon information

and belief, be imposed going forward. Defendants, through their Contract and

subsequent conduct, eliminated competition for inmate health care services in the

relevant Market and thereby have violated Section 1 of the Sherman Act, 15 U.S.C.

§ 1.




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                                     51
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         197. The Contract and restraint of trade affects interstate commerce in

multiple ways as set forth above.

         198. In furtherance of their contract, combination or conspiracy in restraint

of trade, Defendants agreed—in the course of solicitation and implementation of the

Contract—to a performance bond requirement that would exclude all but Centurion

from the inmate health care services Market.

         199. This agreement was clearly part of an overall design and plan between

Centurion on the one hand and one or more of the State Employee Defendants

(including, potentially, John Doe Defendants) on the other, to award Market

contracts to Centurion going forward. This has been shown by the State Employee

Defendants’ continued support for using maximum liability performance bonds for

Market contracts.

         200.    The State Employee Defendants’ efforts to assist Centurion are also

demonstrated by fact that when, upon information and belief, Centurion was not able

to meet the performance bond requirement on time or without occurring additional

costs, one or more of the State Employee Defendants agreed to waive the clear

requirement of the RFP as to when the performance bond needed to be provided and

to increase the maximum value of the Contract by the approximate amount that the

bond would cost.




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                                     52
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         201. State Employee Defendants likewise waived the requirement of the

RFP as to when the Contract had to be signed. These actions were entirely improper

and consistent with the illegitimacy of the entire process. If Centurion could not meet

the requirements of the RFP, the Contract award should have been cancelled and

rebid.

         202. By entering into the Contract and increasing the Contract award from

$118,000,000.00 to $123,000,000.00, Defendants allowed Centurion to reap the

same profits without paying any more for a maximum liability performance bond.

Through this conduct, Defendants have demonstrated a unity of purpose, as well as

common design and understanding, to reduce or eliminate competition in the Market

by maintaining a performance bond requirement that eliminates competition while

ensuring that Centurion will always be able to obtain the Market services contract.

         203. As is demonstrated by their continued insistence on proceeding with

the Contract and supporting the imposition of the same bonding requirement in the

future in this Market, Defendants possessed, and still possess, a conscious

commitment to a common scheme designed to achieve an unlawful objective – that

is, the elimination of competition in the Market.

         204. Defendants’ actions constitute a continuing agreement, understanding,

and concert of action involving Market participants.




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                                     53
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         205. Defendants’ actions have the purpose and effect of unreasonably

restraining trade in the Market, the net effects of which are anticompetitive, and any

purported procompetitive justifications are illegitimate and pre-textual.

         206. Defendants’ actions create a series of anticompetitive effects in the

Market, including:

                 (A)   preventing and deterring inmate health care services providers in

Tennessee and other states from competing for Market contracts because they cannot

meet the unreasonable bonding requirement, at least without causing significant

financial strain to their business;

                 (B)   depriving the taxpayer from enjoying the benefits of competition

in this Market and forcing the taxpayer to incur substantial additional costs in

funding inmate health care services contracts, with no commensurate improvement

in inmate health and wellness;

                 (C)   depriving inmates in the State of Tennessee from enjoying the

same benefits of competition; and

                 (D)   reducing innovation and creativity in services in the Market.

         207. Defendants’ actions constitute a per se violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1 because they are entirely void of redeeming competitive

rationales.




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                                     54
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         208. Alternatively, Defendants’ actions constitute a violation of Section 1 of

the Sherman Act, 15 U.S.C. § 1, under the Rule of Reason. On their face,

Defendants’ actions restrict, and are intended to restrict, the method of competing in

the Market, thereby restricting the number of competitors and causing prices in that

market to rise, maintain, or stabilize above competitive levels. The State Employee

Defendants have market power in this Market and can enforce their competition-

restricting agreement by using the legal authority of the State to preclude entrance

into the Market or to restrict the method of competition in the Market. There is no

legitimate business justification for the State Employee Defendants’ agreement.

         209. Defendants’ actions evidence an intent to deprive inmate health care

services providers, other than Centurion, of a fair opportunity to compete in the

Market. Through their actions, Defendants intend to reduce the number of providers

of inmate health care services in Tennessee and the output of such services.

         210. Defendants’ actions do not enhance, and in fact weaken, the public

health and safety in Tennessee, and do not serve any legitimate public purpose.

         211. Upon information and belief, Defendants’ actions in Tennessee are part

of a wider Centurion scheme to seek to obtain performance bond increases in

multiple states.

         212. As a direct, proximate, and foreseeable result of Defendants’ actions,

Corizon has suffered or will suffer irreparable injury if the Contract continues to be


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                                     55
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performed and/or if future Market services contracts impose the same maximum

liability performance bond requirement, because Corizon will forever lose the

opportunity to fairly compete in the Market for the Contract and subsequent

contracts with the same or similar performance bond terms.

         213. Additionally, Corizon has incurred monetary damages from

Centurion’s ongoing, current, and successful restraint of trade.

         214. Centurion claimed it could—but actually could not—meet the RFP

requirements with regard to signing the Contract timely and with regard to the

performance bond because it could not sign the Contract by July 31, 2020, and could

not furnish the required bond by August 4, 2020. Instead of recognizing that it could

not meet the RFP terms, Centurion, outside of the recognized bidding procedure and

thus in contravention of law, engineered a side agreement with the State whereby it

would be paid $5 million more under the Contract and would receive an extension

of time to sign the Contract and provide the required performance bond. Centurion’s

conduct denied Corizon a fair opportunity to bid on the Contract and to maintain its

rights as incumbent provider, and thus Corizon incurred damages.

         215. Upon information and belief, had all parties fairly and honestly bid on

the Contract, and Centurion not misrepresented their ability to sign the Contract

timely and furnish the required bond by the required date for the bid amount,

Corizon, as the incumbent bidder who had successfully served the State for eight


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                                     56
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years, would have been awarded the Contract and/or, at a minimum, the term of the

2016 Contract would have been extended pending a new solicitation.

         216. Corizon is entitled to the damages resulting from Centurion’s

underhanded and anticompetitive conduct in obtaining the Contract, including lost

profits and other consequential damages, plus treble damages and attorneys’ fees, as

provided in the Sherman Act.

         217. Corizon is also entitled to prospective injunctive relief permanently

enjoining Centurion and the State Employee Defendants from continuing the

Contract and permanently enjoining the State Employee Defendants requiring

maximum liability performance bonds in future health services solicitations absent

clear and express direction to that effect from the State legislature.

                    COUNT II - VIOLATION OF 15 U.S.C. § 1
                         (Against Landers and Centurion)
                     Illegal Conspiracy in Restraint of Trade

         218. Corizon re-alleges and asserts the foregoing paragraphs as if fully

restated herein.

         219. For at least a year, Defendant Landers secretly and illegally provided

sensitive, internal, TDOC/CPO communications and materials to Centurion,

primarily using Wells as his point of contact. Because Wells and the other Centurion

employees referenced in this Amended Complaint were acting within the scope of




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                                     57
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their employment, Centurion is liable for all of the misconduct of Wells and other

Centurion employees.

         220. Landers and Wells have deleted or allowed to be deleted reams of

communications between them in an effort to cover their tracks and prevent the

disclosure of their illegal conduct.

         221. The communications that have been uncovered to date show that

Landers and Centurion were engaged in a broad pattern of collusion that goes well

beyond the communications that have been identified so far.

         222. For instance, Landers forwarded sensitive internal government

materials related to the Contract to Wells and two consultants at Vant4ge. There

thus had to have been communications between Wells, Landers, and Vant4ge

leading up to this improper exchange of information. Wells also forwarded Landers’

communications within Centurion, including to Phillips, Vice President of

Operations. Upon information and belief, at no time did Wells, Phillips, or anyone

else at Centurion ever suggest that Landers stop sending them inside information or

that they did not want or intend to use the information for their advantage.

         223. The fundamental and agreed purpose of all of this communication was

to ensure that Centurion was awarded the Contract. This is an obvious conspiracy

in restraint of trade.




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                                     58
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         224. Defendants’ actions constitute a continuing agreement, understanding,

and concert of action involving Market participants.

         225. Defendants’ actions have the purpose and effect of unreasonably

restraining trade in the Market, the net effects of which are anticompetitive, and any

purported procompetitive justifications are illegitimate and pre-textual.

         226. Defendants’ actions create a series of anticompetitive effects in the

Market, including:

                 (A)   preventing and deterring inmate health care services providers in

Tennessee and other states from competing for Market contracts because they

recognize that the Market is infected with fraud and collusion, and the State

Employee Defendants will do nothing to stop it.

                 (B)   depriving the taxpayer from enjoying the benefits of free and fair

competition in this Market and forcing the taxpayer to incur substantial additional

costs in funding inmate health care services contracts, with no commensurate

improvement in inmate health and wellness;

                 (C)   depriving inmates in the State of Tennessee from enjoying the

same benefits of competition; and

                 (D)   reducing innovation and creativity in services in the Market.




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                                     59
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         227. Defendants’ actions constitute a per se violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1 because they are entirely void of redeeming competitive

rationales.

         228. Alternatively, Defendants’ actions constitute a violation of Section 1 of

the Sherman Act, 15 U.S.C. § 1, under the Rule of Reason. On their face,

Defendants’ actions restrict, and are intended to restrict, the method of competing in

the Market, thereby restricting the number of competitors and causing prices in that

market to rise, maintain, or stabilize above competitive levels. There is no legitimate

business justification for the conduct of Landers and Centurion.

         229. Defendants’ actions evidence an intent to deprive inmate health care

services providers, other than Centurion, of a fair opportunity to compete in the

Market. Through their actions, Defendants intend to reduce the number of providers

of inmate health care services in Tennessee and the output of such services.

         230. Defendants’ actions do not enhance, and in fact weaken, the public

health and safety in Tennessee, and do not serve any legitimate public purpose.

         231. As a direct, proximate, and foreseeable result of Defendants’ actions,

Corizon has suffered or will suffer irreparable injury if the Contract continues to be

performed because Corizon will forever lose the opportunity to fairly compete in the

Market for the Contract.




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                                     60
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         232. Additionally, Corizon has incurred monetary damages from

Defendants’ ongoing, current, and successful restraint of trade.

         233. Upon information and belief, had all parties fairly and honestly bid on

the Contract and Centurion had not had the benefit of inside information, Corizon,

as the incumbent bidder who had successfully served the State for eight years, would

have been awarded the Contract.

         234. Corizon is entitled to the damages resulting from Defendants’

underhanded and anticompetitive conduct in obtaining the Contract, including lost

profits and other consequential damages, plus treble damages and attorneys’ fees, as

provided in the Sherman Act.

                    COUNT III - VIOLATION OF 15 U.S.C. § 2
                           (Against Centurion Only)
                      Actual Monopolization of the Market

         235. Corizon re-alleges and asserts the foregoing paragraphs as if fully

restated herein.

         236. Section 2 of the Sherman Act, in pertinent part, makes it unlawful to

"monopolize, or attempt to monopolize, . . . any part of the trade or commerce among

the several States . . .”

         237. The Market affects trade and commerce between the states as discussed

and identified above.




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                                     61
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         238. In violation of Section 2, Centurion has used its monopoly power to

foreclose competition, to gain a competitive advantage, or to destroy competition in

the Market.

         239. Through the anticompetitive and deceptive acts identified throughout,

Centurion has obtained monopoly power in the Market. It is the only Market

participant able to furnish the maximum liability performance bonds that the

Defendants agreed to require in the Contract and apparently for all Market contracts

going forward.

         240. Centurion did not acquire its monopoly power by providing superior

service, or through business acumen. Rather, its monopoly power in the Market was

willfully acquired through anticompetitive, exclusionary, and deceptive means.

         241. Throughout this process, including through its solicitation of Landers

to move from TDOC in exchange for his provision of inside information about the

bidding process for the Contract, Centurion has engaged in anticompetitive

practices, the design of which was to eliminate competition in the Market and afford

itself a monopoly in the Market.

         242. Centurion’s activities and its agreements with the State Employee

Defendants have not just reduced, but actually eliminated, competition in the

Market, and Corizon’s losses—in the ability to fairly compete and obtain Market

contracts—arise directly from that loss of competition.


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                                     62
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         243. Corizon is entitled to the damages resulting from Centurion’s

underhanded and anti-competitive conduct in obtaining the Contract and

monopolizing the Market, including lost profits and other consequential damages

plus treble damages and attorneys’ fees, as provided in the Sherman Act.

                         COUNT IV - VIOLATION OF 15 U.S.C. § 2
                                   (Against Centurion only
                 and, in the Alternative, to the Actual Monopolization Claim)
                           Attempted Monopolization of the Market

         244. Corizon re-alleges and asserts the foregoing paragraphs as if fully

restated herein.

         245. Alternatively, to the extent Centurion has not fully obtained a monopoly

in the Market, it is still in violation of Section 2 for attempting to do so.

         246. Through its actions and course of conduct, Centurion has had a specific

intent to monopolize the Market.

         247. Centurion has engaged in anticompetitive conduct throughout the

course of this effort, including offering a lucrative salary and benefits to a senior

TDOC employee who was providing Centurion with inside information throughout

the bidding process for the Contract, and misrepresenting its ability to furnish the

requirements of the Contract.

         248. Given that there is no indication that the State Employee Defendants

will not continue to require a maximum liability performance bond for future Market



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                                     63
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services contracts, there is a dangerous probability that Centurion will be successful

in its attempted monopolization of the Market.

         249. Corizon is entitled to the damages resulting from Centurion’s

underhanded and anticompetitive conduct in obtaining the Contract and its attempted

monopolization of the Market, including lost profits and other consequential

damages, plus treble damages and attorneys’ fees, as provided in the Sherman Act.

                         COUNT V - Declaratory Judgment
                            (Against Centurion Only)

         250. Corizon re-alleges and asserts the foregoing paragraphs as if fully

restated herein.

         251. As set forth above, Corizon contends that the Contract violates the

Sherman Act and procurement law in multiple respects.

         252. Corizon further contends that the Contract, as a result of the violation

of the Sherman Act and procurement law, is illegal and void as a matter of law.

         253. Centurion disputes Corizon’s contentions.

         254. The Court should declare that: (A) the Contract was entered into in

violation of the Sherman Act and procurement law; (B) the Contract is, as a

consequence of such violation, illegal and void as a matter of law; and (C) that

Centurion should be required to disgorge all profits earned under the Contract.




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                                     64
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                 COUNT VI - Tortious Interference with Business Relations
                        (Against Centurion and Landers Only)

         255. Corizon re-alleges and asserts the foregoing paragraphs as if fully

restated herein.

         256. At the time of the bidding of the Contract, Corizon was the incumbent

bidder, having obtained the inmate behavioral health services contract in 2012 and

having been awarded that contract again in 2016. Thus, at the time of the bidding

of the Contract, Corizon had an existing business relationship with the State.

         257. Centurion, as one of the few participants in the Market who had

likewise bid on the behavioral health services contracts in prior years, knew of

Corizon’s business relationship with the State.

         258. Corizon, as the incumbent bidder, was most likely to again obtain the

award of the Contract and was best situated to continue to provide behavioral health

services to TDOC.

         259. Centurion, acting through Wells and others, and with Landers,

intentionally and improperly interfered with Corizon’s relationship with the State.

         260. Centurion, acting through Wells and others, fostered a relationship with

Landers, and they agreed that Landers would use his position as CFO of TDOC to

furnish Centurion with private, internal, non-public information about the bidding

process, in a way that affords Centurion a material advantage in the bidding process.



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                                     65
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         261. Centurion used the information provided to prepare a more competitive

bid than it would have otherwise been able to do, because it had the benefit of

knowing the State’s internal calculations and thought processes.

         262. The intent of Landers and Centurion was to end Corizon’s relationship

with the State.

         263. The means used by Landers and Centurion were obviously improper,

involving the illegal transmission of inside information about the bidding process.

         264. Corizon has been damaged by the tortious interference including lost

profits, both from the premature termination of the 2016 Contract and/or the loss of

the Contract, and other consequential damages, including money spent by Corizon

competing for a Contract that it could never win.

                 COUNT VII - Tortious Interference with Business Relations
                               (Against Centurion Only)

         265. Corizon re-alleges and asserts the foregoing paragraphs as if fully

restated herein.

         266. At the time of the bidding of the Contract, Corizon was the incumbent

bidder, having obtained the inmate behavioral health services contract in 2012 and

having been awarded that contract again in 2016. Thus, at the time of the bidding

of the Contract, Corizon had an existing business relationship with the State.




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                                     66
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         267. Centurion, as one of the few participants in the Market who had

likewise bid on the behavioral health services contracts in prior years, knew of

Corizon’s business relationship with the State.

         268. Corizon, as the incumbent bidder was most likely to again obtain the

award of the Contract and was best situated to continue to provide behavioral health

services to TDOC.

         269. By representing that it could meet the State’s requirement to sign the

Contract by July 31, 2020, and/or to furnish a maximum liability performance bond

in the bid amount by August 4, 2020, Centurion misled the State regarding its ability

to comply with the requirements of the RFP.

         270. Upon information and belief, Centurion knew that it could not meet the

requirements of the RFP at the time of the award and had no intention of doing so.

         271. If Centurion had been acting honesty and fairly, it would have followed

Corizon’s course, which was to advise TDOC that its maximum liability

performance bond requirement was unreasonable and could only be met with a

substantial increase in the Contract price.

         272. Instead, in an attempt to drive Corizon out of the competition and

disrupt Corizon’s existing business relationship with the State, Centurion

misrepresented its ability to sign the Contract by July 31, 2020, and get the bond by

August 4, 2020, and misrepresented what its services would cost.


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         273. Through these misrepresentations, Centurion obtained the Contract

award, resulting in the premature cessation of the 2016 Contract and in the

termination of Corizon’s relationship with the State.

         274. Only after the period of time for making a bid protest passed, did

Centurion not meet the signature requirement and obligation to provide the

performance bond by August 4 and, upon information and belief, advised the State

Employee Defendants that they would have to increase the Contract award amount

to cover the cost of the bond.

         275. Corizon has been damaged by Centurion’s misconduct, including lost

profits, both from the premature termination of the 2016 Contract and/or the loss of

the Contract, and other consequential damages.

                              PRAYER FOR RELIEF

         WHEREFORE, Corizon respectfully requests relief from the Court as

follows:

                 A)   Trial by a jury of six (or the smallest permissible number of

jurors) of all claims properly decided by a jury;

                 B)   An award of all damages properly recoverable from Centurion

and Landers, jointly and severally, for their violation of the Sherman Act, including

lost profits, consequential damages, and treble damages;




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                 C)    An order under the Sherman Act and Ex Parte Young

permanently enjoining Defendants from further performing the Contract and

requiring that a new solicitation take place;

                 D)    An order under the Sherman Act and Ex Parte Young

permanently enjoining the State Employee Defendants from requiring maximum

liability performance bonds in future health services solicitations absent clear and

express direction to that effect from the State legislature;

                 E)    A declaratory judgment holding that: (1) Centurion’s Contract

with TDOC is illegal under the Sherman Act and procurement law; (2) the Contract

is, consequently, void; and (3) Centurion is obligated to disgorge all profits received

under the Contract;

                 F)    An award of all damages properly recoverable from Centurion

and Landers, jointly and severally, for interference with business relations;

                 G) An award of attorneys’ fees, costs, pre- and post-judgment interest;

and

                 H)    Such other and further relief as the Court deems just and proper.




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                                      Respectfully submitted,

                                      s/ W. Travis Parham______________
                                      W. Travis Parham, TN BPR #016846
                                      Andrew A. Warth, TN BPR #027606
                                      WALLER LANSDEN DORTCH & DAVIS, LLP
                                      511 Union Street, Suite 2700
                                      Nashville, Tennessee 37219
                                      Telephone: (615) 244-6380
                                      Travis.Parham@wallerlaw.com
                                      Drew.Warth@wallerlaw.com

                                      Attorneys for Plaintiff,
                                      Corizon LLC

                         CERTIFICATE OF SERVICE

       I hereby certify that on April 9, 2020, the foregoing document was filed with
the court via the court’s Electronic Case Filing System, which will serve notice of
such filing as indicated below:

 Dianna Baker Shew                                W. Scott Sims
 Senior Assistant Attorney General                R. Mark Donnell, Jr.
 Office of the Attorney General and Reporter      Michael R. O’Neil
 P.O. Box 20207                                   Sims Funk, PC
 Nashville, TN 37202-0207                         3322 West End Ave., Suite 200
 dianna.shew@ag.tn.gov                            Nashville, TN 37203
                                                  ssims@simsfunk.com
 Attorneys for the Individual Defendants          mdonnell@simsfunk.com
                                                  moneil@simsfunk.com

                                                  Attorneys for Defendant
                                                  Centurion of Tennessee, LLC


                                                  s/ W. Travis Parham




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